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       VIA ECF AND FEDERAL EXPRESS


       Hon. Raymond J. Dearie
       United States District Court
       225 Cadman Plaza East
       Brooklyn, NY 11201

                    Re:             United States v. Zaslavskiy, 17-CR-647 (RJD)
                                    SEC v. REcoin Group Foundations, LLC, et al., 17-CV-5725 (RJD)

       Dear Judge Dearie:

               We represent the Defendants in the above-referenced civil case, SEC v. REcoin Group
       Foundations, LLC, et al., 17-CV-5725 (RJD). As the Court is aware, the civil case is now stayed
       pending the resolution of the criminal matter United States v. Zaslavskiy, 17-CR-647 (RJD). We
       have previously submitted a Memorandum of Law Supporting Maksim Zaslavskiy’s Motion to
       Dismiss Indictment that briefed our argument that the assets in question could not be considered
       “securities” under federal securities laws (D.E. 27). Given the importance of this legal question
       to the Defendants’ civil case, we respectfully request leave of this Court, or confirmation from
       Your Honor that we will be able to address the court, at the argument scheduled for April 27,
       2018.

                                                                          Sincerely,

                                                                          /s/ Jason A. Nagi

                                                                          Jason A. Nagi

       cc (via ecf):
               Assistant United States Attorney Julia Nestor, Esq.
               Federal Public Defender Mildred Whalen, Esq.
               Counsel for the SEC Jorge G. Tenreiro



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